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                                                                                        JUL 11 2019
                                                                                       U.S. DISTi=llCT COURT
                                                                                     EASTERN DISTRICT OF MO
                            IN THE UNITED STATES DISTRICT COURT                              ST. LOUIS
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )        Case No.
                                                     )
v.                                                   )         4:19CR00533 HEAIPLC
                                                     )
MEGAN LOWE and                                       )
KIMBERLY ANN BASLER,                                 )
                                                     )
                        Defendants.
                           I


                                         INDICTMENT

                                            COUNT I

        The Grand Jury charges that:

        On or about October 5, 2018, in Macon County, within the Eastern District of Missouri,

the defendants,

                     MEGAN LOWE and KIMBERLY ANN BASLER,

did knowingly and intentionally distribute a controlled substance to E.O., a person whose

identity is known to the Grand Jury, in violation of Title 21, United States Code, Section

841(a)(l) and Title 18, United States Code, Section 2, and;

       that E.O. suffered serious bodily injury as a result of the use of such controlled substance

distributed by defendants, making the offense punishable under Title 21, United States Code,

Section 841(b)(l)(C).



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                                            COUNT II

The Grand Jury further charges that:

       On or about October 5, 2018, in Macon County, within the Easterp. District of Missouri,

the defendants,

                     MEGAN LOWE and KIMBERLY ANN BASLER,

did knowingly and intentionally distribute a controlled substance to M.J., a person whose identity

is known to the Grand Jury, in violation of Title 21, United States Code, Section 841(a)(l) and

Title 18, United States Code, Section 2, and;

       that M.J. thereafter ingested the controlled substance distributed by defendants, and died

as a result of the use of such controlled substance, making the offense punishable under Title 21,

United States Code, Section 841(b)(l)(C).




                                                    A TRUE BILL.



                                                    . FOREPERSON



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